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                                   No. 23-60069

           In the United States Court of Appeals
                   for the Fifth Circuit
 State of Texas; Texas Commission on Environmental
 Quality; Luminant Generation Company, L.L.C.; Coleto
 Creek Power, L.L.C.; Ennis Power Company, L.L.C.; Hays
  Energy, L.L.C.; Midlothian Energy, L.L.C.; Oak Grove
Management Company, L.L.C.; Wise County Power Company,
L.L.C.; Association of Electric Companies of Texas; BCCA
 Appeal Group; Texas Chemical Council; Texas Oil & Gas
                       Association,
                             Petitioners,
                                        v.
    United States Environmental Protection Agency;
     Michael S. Regan, Administrator, United States
           Environmental Protection Agency,
                            Respondents.

  STATE PETITIONERS’ OPPOSED MOTION TO STAY

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             Certi¾cate of Interested Persons
                         No. 23-60069
  State of Texas; Texas Commission on Environmental
  Quality; Luminant Generation Company, L.L.C.; Coleto
  Creek Power, L.L.C.; Ennis Power Company, L.L.C.; Hays
   Energy, L.L.C.; Midlothian Energy, L.L.C.; Oak Grove
 Management Company, L.L.C.; Wise County Power Company,
 L.L.C.; Association of Electric Companies of Texas; BCCA
  Appeal Group; Texas Chemical Council; Texas Oil & Gas
                        Association,
                                Petitioners,
                                          v.
     United States Environmental Protection Agency;
      Michael S. Regan, Administrator, United States
            Environmental Protection Agency,
                             Respondents.

    Under the fourth sentence of Fifth Circuit Rule 28.2.1, petitioners, as govern-
mental parties, need not furnish a certicate of interested persons.

                                        /s/ Bill Davis
                                        Bill Davis
                                        Counsel of Record for State of Texas and Texas
                                        Commission on Environmental Quality




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    Pursuant to Federal Rule of Appellate Procedure 18, petitioners the State of
Texas and the Texas Commission on Environmental Quality (“TCEQ”), move for

a stay pending review of the nal action of the U.S. Environmental Protection
ʉ" )4 LDʉEM $.++-*1$)" /#  //  *!  3.C. //  (+' ( )//$*) ')
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National Ambient Air Quality Standards,” 88 Fed. Reg. 9,336 (Feb. 13, 2023) (“Fi-
nal Rule”). Seeking a stay from EPA would be impracticable given the imminence of
#-( ) ʉC. "- ( )/ /* )'$5   !  -' $(+' ( )//$*) +') LD EM 4
March 15, 2023. See Fed. R. App. P. 18(a)(2)(A)(i); infra -/ 7)-#f6fdfg6
'' +-/$ . 2 -  $)!*-(  /#/ /#$. (*/$*) 2*0'   ' 7 See Fed. R. App. P.
18(a)(2)(C). The respondents oppose it. The other petitioners consent.

                                Introduction
   The Final Rule violates a bedrock principle of administrative law: agencies must
“provide regulated parties ‘fair warning of the conduct [a regulation] prohibits or
requires.’” Christopher v. SmithKline Beecham Corp., 567 U.S. 142, 156 (2012) (alter-
ations in original) (quoting .- S )2 Â)6 06 /*.#)(&  .3 & Health Rev.

Comm’n6kmd7feih6eijL77$-7emljML'$6 7MM7 )fdel6!/ -4 -.*!*(?
plex work that tracked—and, in some instances, improved upon—EPA’s existing
methodologies and guidance, TCEQ submitted a revision of Texas’s   to demon-
strate compliance with the Clean Air Act’s “good neighbor” provision, 42 U.S.C.
§ 7410(a)(2)(D)(i)L M.
   EPA should have approved that  7 )./ 6ʉ%0"  it using models and

modes of analysis published after the   revision was due. But by then, Texas could
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)*/- *$/. 6)/# ) 26+- 1$*0.'40)))*0) ./)-.''0/"0-)/ 
a disapproval. Nothing in the Act or controlling +-   )/0/#*-$5 ..0#-$/--4
and capricious agency action.
   The challenged part of the Final Rule should be stayed. Not only are Texas and
TCEQ likely to succeed on the merits, but they face irreparable harm in the interim.

The Final Rule is the predicate act to EPA’s imposition of a  that will strain, to
potentially devastating effect, Texas’s economy and its electrical grid. For those rea-
sons, the public interest and balance of harms tilt in Texas’s favor. A stay pending
review is therefore warranted.

                                 Background

I. Statutory Framework
   The Clean Air Act is an “experiment in cooperative federalism” that “estab-
lishes a comprehensive program for controlling and improving the nation’s air qual-
ity through state and federal regulation.” /'#((.Generation Co. v. EPA, 675 F.3d
917, 921 (5th Cir. 2012). Under this statutory structure, the federal government sets
national ambient air quality standards (“NAAQS”), and the States develop and im-

plement  . to enforce the NAAQS.

    A. Operation of the Act’s cooperative federalism
   The Act rst tasks EPA with identifying air pollutants and establishing NAAQS
that set maximum allowable concentrations for pollutants that are harmful to public
health and welfare. 42 U.S.C. §§ 7408(a), 7409(a). Every ve years, EPA must re-

vise each NAAQS as appropriate. 6 § 7409(d)(1). An area that meets a NAAQS is



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called an “attainment” area; an area that does not is a “nonattainment” area. .
§ 7407(d)(1)(A)(i)-(ii); see id. § 7501(2).
   Although the Act tasks EPA with setting NAAQS, it assigns the States “primary
responsibility for ensuring that the ambient air meets the NAAQS for the identied
pollutants.” BCCA Appeal Grp. v. EPA, 355 F.3d 817, 822 (5th Cir. 2003); see

42 U.S.C. § 7407(a). “This division of responsibility between the states and the fed-
eral government ‘reflects the balance of state and federal rights and responsibilities
characteristic of our federal system of government.’” Texas v. EPA, 829 F.3d 405,
411 (5th Cir. 2016) (quoting /'#nant, 675 F.3d at 921). t “indicates a congressional
preference that states, not EPA, drive the regulatory process.” d.
   To implement the NAAQS, “states must adopt and administer [ .],” /'#>
nant, 675 F.3d at 921, which “provide[] for implementation, maintenance, and en-
forcement” of the NAAQS within their borders, 42 U.S.C. § 7410(a)(1). After EPA
sets the ʉʉ6// .#1 /#- 4 -./*.0($/ s *- - 1$.$*)s specifying

how they will meet the NAAQS for certain pollutants. 6 § 7407(a); id. § 7410(a)(1),
(a)(2), (a)(2)(H). n discharging that obligation, States have “broad authority to de-
termine the methods and particular control strategies they will use to achieve the

statutory requirements,” BCCA Appeal Grp., 355 F.3d at 822, and “‘wide discretion
in formulating [their  .]’” for meeting the NAAQS, /'#((., 675 F.3d at 921
(quoting Union Elec. Co. v. EPA, 427 U.S. 246, 250 (1976)). ) 6DBN.O*'*)".

the ultimate effect of a State’s choice of emission limitations is compliance with the
[NAAQS], the State is at liberty to adopt whatever mix of emission limitations it



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deems best suited to its particular situation.’” Texas, 829 F.3d at 411 (quoting Train
06.6-6 6Â)/(#&5 (6, 421 U.S. 60, 79 (1975)).
   Consistent with this preference for state implementation and enforcement, the
Act “connes EPA’s role in implementing air quality standards ‘to the ministerial
!0)/$*)*!- 1$ 2$)" .!*-*).$./ )42$/#/# ʉ/C.- ,0$- ( )/..’” 6 (quot-

ing /'#nant, 675 F.3d at 921); 42 U.S.C. § 7410(a)(1), (l). Consequently, i! 
meets the statutory requirements, “EPA must approve it.” Texas v. EPA, 690 F.3d
670, 676 (5th Cir. 2012) (emphasis added); see 42 U.S.C. § 7410(k)(3) (“the Ad-
ministrator shall ++-*1 N O.2#ole if it meets all of the applicable require-
ments of this chapter” (emphasis added)); 40 C.F.R. § 52.02(a). “Only if the state
has not complied with the requirements of the [Act] .ௗ.ௗ. does EPA assume the role
of primary regulator by drafting a [ ].” Texas, 829 F.3d at 412; see 42 U.S.C.
§ 7410(c)(1).
   The Act requires EPA to take action on a  2$/#$)18 months of its submission.

Congress directed EPA to determine, within the rst six months, whether a  is
technically and administratively complete. 42 U.S.C. § 7410(k)(1)(B). !ʉ does
not issue a completeness nding within six months, the   is deemed to meet the

minimum criteria by operation of law. 42 U.S.C. § 7410(k)(1)(B). Upon its issuance
of a completeness nding, EPA has—according to Congress—12 months to approve
*- )4/#  7 6 § 7410(k)(2)-(3).

    B. The Act’s “good neighbor” provision
   The Act enumerates . 1 -'.0./)/$1 - ,0$- ( )/.!*- .7 d. § 7410(a)(2).

Relevant here is the Act’s “good neighbor” provision, which requires “upwind

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States to reduce emissions to account for pollution exported beyond their borders.”
ʨ06 )',Â#.3(,.#)(5 66, 572 U.S. 489, 499 (2014). The text of this
provision requires that  D*)/$) ,0/ +-*1$.$*).” prohibiting emissions
that “will .ௗ.ௗ.ௗcontribute signicantly to nonattainment in, or interfere with mainte-
nance by, any other State with respect to any [NAAQS].” 42 U.S.C.

§ 7410(a)(2)(D)($ML M7The next subsection requires  /*prohibit emissions that
will D$)/ -! - 2$/#( .0- .- ,0$- /* $)'0 E$)*/# -// .C .D/*+- ?
vent signicant deterioration of air quality or to protect visibility.”              6
§ khedLMLfMLML$ML M; see Texas, 829 F.3d at 411 (involving action taken under sub-
section LMLfMLML$ML M).
   To evaluate 2# /# - satises the good-neighbor provision, a four-step pro-
 ..#. 1*'1 /#-*0"#ʉC.$(+*.$/$*)*! .. As relevant here, the rst step
is “[i]dentifying downwind receptors that are expected to have problems attaining
the NAAQS (nonattainment receptors) or maintaining the NAAQS (maintenance

receptors).”  7 (+' ( )//$*)')ʉ- ..$)" "'75*) -).+*-/!*-/# 
fdei5*)e Nat’l Ambient Air Quality Standard, 87 Fed. Reg. 20,036, 20,054 (Apr.
6, 2022) (proposed rule). The process involves gathering historical data from down-

wind monitors and using modeling to assess future air-quality problems. 6The sec-
ond step is “determining which upwind states are ‘linked’ to these identied down-
wind receptors based on a numerical contribution threshold.” 6Under EPA’s pre-

ferred approach, a State that contributes more than one percent of the NAAQS to a
downwind State is “linked” to that State. 6 The third step, for any State “linked
to downwind air quality problems,” is “identifying upwind emissions on a statewide

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basis that signicantly contribute to downwind nonattainment or interfere with
downwind maintenance of the NAAQS, considering cost- and air quality-based fac-
tors.” 6 The fourth step, for any upwind State “found to have emissions that
signicantly contribute to nonattainment or interfere with maintenance of the
NAAQS in any downwind state,” is “implementing the necessary emissions reduc-

tions through enforceable measures.” .

II. Procedural History
   This case concerns EPA’s October 2015 revision of the NAAQS !*-*5*) , a pol-
lutant at ground level. Nat’l Ambient Air Quality Standards !*-5*) 680 Fed. Reg.
65,292 (Oct. 26, 2015); see also 40 C.F.R. pt. 50. )fdei6EPA replaced the preexist-
$)"*5*) ʉʉ of 0.075 parts per million (ppm) with a more stringent 0.070 ppm.
NAʉ!*-5*) 680 Fed. Reg. at 65,293-65,294. EPA’s October 2015 revision of
the NAAQS triggered Texas’s statutory obligation to - 1$.  $/.   within three

years, or by October 1, 2018. 42 U.S.C. § 7410(a)(1).

    A. EPA issues guidance for SIP revisions
    )arch 2018, seven months before Texas’s statutory deadline to revise its  6

EPA issued a guidance memorandum designed to “assist states in their efforts to
 1 '*+"**) $"#*- .!*-/# fdei*5*) ʉʉS.” Memorandum from Peter
Tsirigotis, Director, Ofce of Air Quality Planning and Standards, ( ),'.#)()(."

(.,-..,(-*),... '*&'(..#)(&(/'#--#)(- ),."ecdh4)(.#)(&
ʨ'#(. ʨ#, /&#.3 .(,- /(, Â&( ʨ#, ʨ. .#)( ddcKLKeLKLK#LK L at 2
(Mar. 27, 2018) (“2018 Transport Guidance”) (App. A).



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   This memorandum provided two forms of guidance for flexible approaches to the
transport analysis relevant here. First, to identify maintenance receptors at the rst
step of the four-step analysis, EPA recommended use of an alternative methodology
to assess (a) receptors in areas at risk of exceeding the NAAQS (even if they do not
currently violate the NAAQSM0.$)")++-*#/#/* .)*/- '4*)/# +-*% /$*)

of maximum design values and (b) receptors in cl )- .2# - *5*) !*-(/$*)$.
likely to occur but does not. 6 at A-2. Second, to carry out the modeling of future
*5*)  ($..$*).6EPA recommended that States 0/$'$5 historical data gathered from
the years 2009-2013. 6at 6. Despite this guidance, EPA reassured States that they
could “supplement the information provided in this memorandum with any addi-
tional information that they believe is relevant” and “choose to use other infor-
mation to identify nonattainment and maintenance receptors relevant to develop-
( )/*!/# $-"**) $"#*- .7E .

    B. Texas submits its SIP revisions
    On August 17, 2018, TCEQ timely submitted - 1$.$*)./* 3.C. . See Tex.
Comm’n on Env’t Quality, Fed. Clean Air Act Sections 110(A)(1) and (2) Transport
//  (+' ( )//$*)') 1$.$*)!*-/# fdei5*) /7ʉ($ )/ʉ$-0'$/4
Standards (Aug. 2018) LD 3. EM (App. B).
    Per EPA’s March 2018 guidance, TCEQ “us[ed] a framework similar to EPA’s

4-Step framework,” 87 Fed. Reg. at 9,824, for assessing interstate pollution related
/**5*) but included D. 1 -'& 4$(+-*1 ( )/.7E 3. /g-1. To determine
its contributions to other States’ pollution, TCEQ used historical data from the

2010-2014 period. d. at 3-38. Then, to identify maintenance receptors, TCEQ used

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the most recent three-year average design value from its modeling (i.e., the 2012-2014
period), whereas EPA recommended using the maximum of the three-year average
design value (i.e., the highest value from the 2009-2011, 2010-2012, and 2011-2013
periods). . at 3-3, 3-39. TCEQ found that the most recent design value “reflect[ed]
/# 0-- )/.// *!*5*) *) )/-/$*).$)N*2)2$)O- )/# $(+/*!)4

maintenance plans that [we]re in place to prevent local emissions from causing an
area to slip back into nonattainment[.]” . at 3-42.

    C. EPA issues after-the-fact guidance regarding maintenance
       receptors
    On October 19, 2018—nineteen days after the statutory deadline for Texas to
submit  revisions—EPA issued a memo providing updated expectations for what
maintenance receptors States should use when determining their contributions to
other States’ pollution. Memorandum from Peter Tsirigotis, Director, Ofce of Air
Quality Planning and Standards, Â)(-#,.#)(- ), (.# 3#(! #(.((*.),-
),-#(Â&(ʨ#,ʨ..#)(ddcKLKeLKLK#LK L (.,-..,(-*),... '*&'(>
..#)(&(/'#--#)(- ),."ecdh4)(.#)(&ʨ'#(.ʨ#,/&#.3.(,-,

(Oct. 19, 2018) (“2018 Maintenance Receptor Memo”) (App. C).
    The 2018 Maintenance Receptor Memo materially changed EPA guidance given
in the 2018 Transport Guidance for identifying maintenance receptors. )*)/-./

to EPA’s previous suggestion that States identify at-risk maintenance receptors and
*).$./ )/'4' )-  +/*-..0. +/$' /**5*) !*-(/$*), the 2018 Maintenance
Receptor Memo for the rst time “recommended” that States nd receptors in areas

2# -  *5*)  #.  ) /- )$)" *2)2- .$)  fdee8 /#/ // . /&  $/$*)'


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steps when looking at receptors in clean areas beyond those described in the 2018
Transport Guidance; and that States identify receptors where “emissions are ex-
pected to continue to decline in the upwind and downwind states out to the attain-
ment date of the receptor.” Compare 2018 Transport Guidance at A-2 with 2018
Maintenance Receptor Memo at 4. EPA stated, however, that the guidance con-

tained in that memorandum was “not impos[ing] binding, enforceable requirements
on any party” and that “State air agencies retain[ed] the discretion to develop good
) $"#*- - 1$.$*)./#/$!! -[ed] from” the guidance in the 2018 Maintenance
Receptor Memo. 2018 Maintenance Receptor Memo at 1. Nothing in the guidance
otherwise indicated that compliance with EPA’s new recommendations would be
$.+*.$/$1 *! .0($..$*).

    D. EPA proposes disapproval of Texas’s SIP, and TCEQ submits
       comments
     n February 2022, two years after EPA was statutorily required to act, EPA pro-
posed a combined disapproval of Texas’s, Oklahoma’s, Louisiana’s, and Arkansas’s
 .7 ʉ$- ') $.++-*1'8 ʉ-&)..6 *0$.$)6 &'#*( T  3.8 )/ -.// 
Transport of Air Pollution for the 2015 8- *0-5*) /’l Ambient Air Quality
Standards, 87 Fed. Reg. 9,798 (Feb. 22, 2022) (proposed rule). Relevant here, EPA
took issue with TCEQ’s methodology for identifying maintenance receptors, con-
cluding that its methodology failed to account for “meteorological variability in iden-
tifying those areas that” may currently be meeting the NAAQS but may struggle to
maintain the NAAQS in the future. 6 at 9,826-9,829. ʉ'.*-$/$$5 C.

modeling methodology because it believed that TCEQ’s use of a historical data set


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from 2010-2014 D0) - ./$(/ NO !0/0-  *5*)  ' 1 '.” as compared to an “up-
dated” set of data used by EPA from the years 2014-2018. 6 at 9,829-9,830. Even
though EPA had not )''4/ *) 3.C. - 1$.$*).6 mere month-and-a-half
!/ -+-*+*.$)"/* )4/#  6ʉ+0'$.# +-*+*.   for Texas. 87 Fed.
Reg. at 20,036.

     )- .+*). /*/# +-*+*.  disapproval, TCEQ submitted comments iden-
tifying several problems with EPA’s analysis. Relevant here, TCEQ pointed out that
it was arbitrary and capricious for EPA to  )4/#  $)+-/4 relying on guidance
issued after  3..0($// $/. . See TCEQ, Comments on the U.S. EPA’s Air
Plan Disapproval at 5-6 (Apr. 25, 2022) (“TCEQ Comments”) (App. D). TCEQ also
-"0 /#/$/2.-$/--4)+-$$*0.!*-ʉ/* )4/#  $)+-/by using
modeling data from 2014-2018 that was not available to TCEQ until long after
 3.C. - 1$.$*)deadline had passed. 6 at 6.

    E. EPA nalizes its disapproval of Texas’s SIP revision
    On February 13, 2023, four years after its statutory deadline to act, EPA issued
a nal disapproval *! 3.C. 7ll 7 "7at 9,336. Contrary to its statements
in the 2018 Maintenance Receptor Memo, EPA expressly $.++-*1  3.C. 
in part because Texas’s identication of maintenance receptors “did not meet the
terms of the .ௗ.ௗ. October 2018 memoranda.” 6at 9,340, 9,364. Similarly contradict-

ing its 2018 Transport Guidance, EPA said that $/2.$.++-*1$)" 3.C.  ?
cause Texas used a model that relied on ve years of data from 2010-2014, which




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0) - ./$(/ !0/0- *5*) ' 1 '.. 6 at 9,359-60. )// (+/$)"/*%ustify this de-
cision, EPA did not point to the statute or any regulation. /$nstead said that it was
%0./“following the science.” 6at 9,364.

                               Stay Standard
    Courts consider four factors when determining whether to grant a stay: (1) like-
lihood of success on the merits; (2) /# +-*.+ /*!$-- +-' $)%0-48LgM the possi-
bility of harm to other parties; and (4) the public interest. %(06)&,, 556 U.S.
418, 434 (2009). As explained below, each factor favors a stay here.

                                   Argument

I. Petitioners Are Likely to Succeed on the Merits.
    The Administrative Procedure Act (“APA”) instructs courts to “hold unlawful
and set aside agency action[s]” that are “arbitrary, capricious, an abuse of discretion,
or otherwise not in accordance with law.” 5 U.S.C. § 706(2)(A). “The APA’s arbi-
trary-and-capricious standard requires that agency action be reasonable and reason-
ably explained.” FCC v. Prometheus Radio Project, 141 S. Ct. 1150, 1158 (2021).
Agency action qualies as arbitrary and capricious “‘if the agency has relied on fac-
tors which Congress has not intended it to consider, entirely failed to consider an
important aspect of the problem, offered an explanation for its decision that runs

counter to the evidence before the agency, or is so implausible that it could not be
ascribed to a difference in view or the product of agency expertise.’” 26#&S-
Ass’n v. EPA, 161 F.3d 923, 933 (5th Cir. 1998) (quoting Motor Vehicle Mfrs. Ass’n v.
..,' /.6ʨ/.)6 (-6Â)6, 463 U.S. 29, 43 (1983)). “Put simply, [the Court]



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must set aside any action premised on reasoning that fails to account for ‘relevant
!/*-.C*- 1$) .B' - --*-*!%0"( )/7CEUniv. of Tex. M.D. Anderson Cancer
Ctr. v. HHS, 985 F.3d 472, 475 (5th Cir. 2021) (quoting Mars"06,6.. Res. C)/(>
cil, 490 U.S. 360, 378 (1989)). This review is “not toothless,” and “after [*,.>
ment of Homeland Security v. Regents of the University of California, 140 S. Ct. 1891

(2020)], it has serious bite.” !-S"#. #)( (0-6 v. FDA, 16 F.4th 1130, 1136
(5th Cir. 2021).
    EPA’s )'$.++-*1'*! 3.C. 1$*'/ ./# . foundational principles of
administrative law in two ways. First, it fails to explain EPA’s after-the-fact reversal
of prior guidance regarding how States should identify maintenance receptors. And
second, it disregards the Act’s cooperative !  -'$.(4 )4$)"/#  . *)
emissions-modeling data available only after Texas was statutorily required to submit
$/. - 1$.$*).7

    A. EPA failed to explain its reversal of previous policy regarding
       identication of maintenance receptors.
    D /$.3$*(/$/#//# ʉʉ- ,0$- .)" )4/* 3+'$)$/..$.!*- $?

sion.” Physicians for Soc. Resp. v. Wheeler, 956 F.3d 634, 644 (D.C. Cir. 2020). “This
foundational precept of administrative law is especially important where, as here, an
agency changes course.” 6 Consequently, “[r]easoned decision-making requires

that when departing from precedents or practices, an agency must ‘offer a reason to
distinguish them *- 3+'$)$/.++- )/- % /$*)*!/# $-++-*#7CE 6 (quoting
Sw. Airlines Co. v. FERC6mfj7glie6lijL77$-7fdemMM7 )*/# -2*-.62# )




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)" )4- 1 -. .D+-$*-+*'$46E$/(0./+-*1$ D /$' %0./$cation” for do-
ing so. FCC v. Fox Te&0#-#)(..#)(-5 (6, 556 U.S. 502, 515-16 (2009) (plurality
op.).
    That is particularly true where the agency’s new policy depends upon “factual
ndings that contradict those which underlay its prior policy; or when its prior policy

has engendered serious reliance interests that must be taken into account.” 6 at
iei7 ) 6 DN.O0 ) ) 0) 3+'$)  #)" 6 *- #)"  /#/ * .)*/ /&  ?
count of legitimate reliance on prior interpretation, may be arbitrary, capricious [or]
an abuse of discretion.” Smiley v. Citibank (S.D.L56ʨ6, 517 U.S. 735, 742 (1996)
(cleaned up). But regardless of how “/# " )4%0./$es its new position, what it
may not do is ‘gloss[] over or swerve[] from prior precedents without discussion.’”
Physicians for Soc. Resp., 956 F.3d at 645 (quoting Sw. Airlines, 926 F.3d at 856).
    EPA’s disapproval *! 3.C.  revisions violates those principles. t is prem-
ised in part on the agency’s - % /$*)*!a method for identifying maintenance recep-

tors that EPA endorsed before  3.C..0($..$*)*!$/.  revisions, then changed
after Texas submitted $/. - 1$.$*).7 )its March 2018 guidance document, EPA
instructed States to identify maintenance receptors by focusing on receptors found

in maintenance areas that were at risk of nonattainment and receptors found in clean
- .2# - *5*) !*-(/$*)was likely to occur but did not. 2018 Transport Guid-
ance at A-2. But in its October 2018 memorandum—issued after the deadline for

.0($//$)" 3.C. - 1$.$*).—EPA changed course, instructing States to use
receptors located $)- .2# - *5*) #. )/- )$)"*2)2-.$) fdee and
receptors where “emissions are expected to continue to decline in the upwind and

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downwind states out to the attainment date of the receptor.” 2018 Maintenance Re-
ceptor Memo at 4. Critically, although EPA insisted in its October 2018 guidance
that its instructions were not binding or enforceable, it relied on the standards artic-
0'/ $)/#/( (*-)0(..$.!*- )4$)" 3.C. 7See 88 Fed. Reg. at
9,364.

    This is the denition of an “unfair surprise” that + )'$5es a party for “good-
faith reliance” on an agency’s prior positions. Christopher, 567 U.S. at 156-57; see
22)( )#&#*&#(Â)606, 867 F.3d 564, 580 (5th Cir. 2017). EPA offers no
( )$)"!0'%0./$cation for its sudden and unexpected policy reversal beyond vague
assertions that it was “following the science” and that Texas should have known
that out-of-circuit cases “called into question” the 2018 Transport Guidance on
which Texas relied. 88 Fed. Reg. at 9,364. Neither of those assertions has merit.
    1. “Following the science” is an empty phrase. /explains nothing about why
EPA’s tardy guidance addressing maintenance-receptor selection—guidance that

ʉ #-/ -$5  . “[non]binding” and “[un]enforceable”—suddenly became
binding, enforceable, and indeed dispositive four-and-a-half years after it was issued.
The two cases that EPA claims “called into question” the 2018 Transport Guidance,

and thus the science upon which Texas relied, are inapposite7 !Maryland v. EPA,
958 F.3d 1185 (D.C. Cir. 2020), and Wisconsin v. EPA, 938 F.3d 303 (D.C. Cir. 2019)
(per curiam), had somehow changed the science and triggered EPA policy reversals

affecting   submissions6 ʉ .#*0' #1  $..0     '' 0) - hf U.S.C.
§ 7410(k)(5). EPA could have explained its policy reversal and requested revisions
from Stat .!*-/# $--).+*-/ .7Had it done so, there would be no “surprise,”

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and Texas would have “know[n] the rules by which the game [would] be played”—
knowledge Texas was entitled to but did not receive. Alaska Prof’l Hunters Ass’n v.
FAA, 177 F.3d 1030, 1035 (D.C. Cir. 1999), ,)!. )( ).", !,)/(- 3 ,4 06
Mortg. Bankers Ass’n, 575 U.S. 92 (2015).
     )./ 6ʉ2$/ '(*./ve years to inform Texas that its reliance on EPA’s

2018 Transport Guidance was misplaced because the science had supposedly
changed three years prior due to D.C. Circuit opinions in unrelated cases that, un-
surprisingly, did not purport to announce any scientic discoveries. An agency must
“give the person of ordinary intelligence a reasonable opportunity to know” what is
required or prohibited, “so that he may act accordingly.” Emp. Sols. Stafng Grp. 5
   Â06 . ) Â"# ʨ'#(6,#(! cer, 833 F.3d 480, 488 (5th Cir. 2016). EPA
failed to do that here.
    2. Not only did EPA fail to provide a reasoned explanation for its policy rever-
sal, it also failed to account for Texas’s reliance interests. 56!6, Regents, 140 S. Ct.

at 1913. EPA “was required to assess whether there were reliance interests, deter-
mine whether they were signicant, and weigh any such interests against competing
policy concerns.” . at 1915. But EPA did not—and indicated no awareness that its

policies may have “engendered serious reliance interests that must be taken into ac-
count.” . at 1913. Failing to “adequately assess reliance interests,” like those of
Texas, made it “impossible” for EPA “to properly weigh the relevant interests

against competing policy concerns while considering alternatives,” as the APA re-
quires. Biden v. Texas, 10 F.4th 538, 555 (5th Cir. 2021) (per curiam).



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    B. EPA’s disapproval of Texas’s SIP renders the Act’s cooperative
       federalism a dead letter.
    The Act’s cooperative federalism assigns the States “primary responsibility for
ensuring that the ambient air meets the NAAQS for the identied pollutants.”

BCCA Appeal Grp., 355 F.3d at 822; see 42 U.S.C. § 7407(a). ) 6/# Act confers
“broad authority [on the States] to determine the methods and particular control
strategies they will use to achieve the statutory requirements,” BCCA Appeal Grp.,

355 F.3d at 822, and “‘wide discretion in formulating [their] plan[s]’” for meeting
the NAAQS, /'#((., 675 F.3d at 921. As noted, this division of responsibility “re-
flects the balance of state and federal rights and responsibilities characteristic of our

federal system of government” and “indicates a congressional preference that
states, not EPA, drive the regulatory process,” Texas, 829 F.3d at 411.
    EPA’s disapproval *! 3.C.  revisions disregards that statutory structure.
For that reason, it “fails to account for ‘relevant factors’ or evinces a ‘clear error of
%0"( )/7CEUniv. of Tex., 985 F.3d at 475. ) 6 EPA’s disapproval of Texas’s
 leverages the " )4C.*2)$.- "-*!$/..//0/*-4 '$) !*-/$)"*) 
submission to disapprove /#  . *)/that was not available to Texas at the
time the State was statutorily required to—and did—submit its revisions.
    As described above, EPA’s October 1, 2015, revision of the NAAQS triggered

Texas’s three-4 -  '$)  /* - 1$.  $/.  , 42 U.S.C. § 7410(a)(1), and Texas
/$( '4.0($// $/.- 1$.  *)ʉ0"0./ek6fdel, see  3. 7Relevant here,
TCEQC.  revisions reflected an assessment of /# $(+/ 3.C.*5*)  ($.?
sions had on downwind States using modeling data from a ve-year period from



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2010-2014,  3. /g-3 to 3-6—an approach similar to what EPA recommended
mere months before Texas’s submission deadline. See 2018 Transport Guidance
at 3-6. Following that approach, TCEQ concluded that “Texas emissions do not
contribute signicantly to nonattainment or interfere with maintenance of the 2015
eight-#*0-*5*) ʉʉQ/)4*2)2$)(*)$/*-.7E 3. /3-75.

    Despite a maximum of 18 (*)/#. /* ++-*1  *-  )4 /#   6 42 U.S.C.
§ 7410(k)(1)-(2), EPA did not take action on Texas’s timely  - 1$.$*).0)/$'/#- 
years after the statutory deadline had passed. 87 Fed. Reg. at 9,798. By that time,
ʉ#0(0'/ ) 2/. /*)2#$#/*. $/.(* '$)"9*5*)  ($..$*).
from the years 2014-2018. 6 at 9,828. And it used the information derived from that
new data set, 2#$#$)'0 /!-*(/# .( 4 -/#/ 3.C. - 1$.$*)2.
statutorily due, as a basis upon which to disapprove  3.C. 7 6
    Commenters, including TCEQ, raised the fundamental impropriety of using
data not available at the relevant time—and available to EPA only because of its char-

acteristic failure to meet its statutory deadlines by a long shot—as a basis upon which
/*- % / 3.C. 7 See TCEQ Comments at 6; 88 Fed. Reg. 9,366 (EPA’s con-
cession that this new data set was published in “November of 2020,” seven months

after ʉ2. .//0/*-$'4 - ,0$-  /* ++-*1  *-  )4  3.C.  M. n response,
EPA stated in the Final Rule that it should not be “prohibited from taking rulemak-
ing action using the best information available to it at the time it takes such action.”

88 Fed. Reg. at 9,366. And it concluded that “[n]othing in the [Act] suggests that
the Agency must deviate from that general principle when acting on S  .0($.?
sions.” .

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     ! EPA’s response were correct, the Act’s cooperative-federalism framework
would become little more than a suggestion. EPA could ignore its statutorily assigned
deadlines with impunity, assemble new data after the expiration of a State’s statutory
deadline to act6- % /a   revision based on inconsistency with the new data, and
/# )$(+*.  /#/ ).0- .!  -'/& *1 -*!// ’s economy.

    That is not how Congress structured the Act. “EPA may not use its own delay
as an excuse for imposing burdens on Texas that” the Act “does not permit.” Texas,
829 F.3d at 430. And nothing in the Act 0/#*-$5 .EPA to second-guess TCEQ’s
technical analysis based on data that became available after Texas’s statutory dead-
line to act. EPA’s approach would invert the Act’s structure by constricting the
States’ “wide discretion in formulating [their  .O” and expanding EPA’s role
from a “ministerial function of [timely] reviewing S . !*- consistency with the
Act’s requirements” to a freewheeling power to override state discretion on EPA’s
own preferred schedule, rather than Congress’s. /'#((., 675 F.3d at 921. EPA’s

“fail[ure] to account for” these “‘relevant factors,’” Univ. of Tex., 985 F.3d at 475,
and its “reli[ance] on factors which Congress has not intended it to consider,” Tex.
#&S-ʨ--B(6eje7g/mgg6/*.0./$/0/ $/.%0"( )/!*- 3.’s was arbitrary

and capricious.

II. The Remaining Stay Factors Favor Petitioners.
     /$/$*) -.2$'' $-- +-'4$)%0- . )/./47%(, 556 U.S. at 434.
As explained above, ''*2$)" /#   /* /&  !! /D2*0'$.-0+/ /#  .4./ ( *!
cooperative federalism enshrined in the Clean Air Act.” Texas, 829 F.3d at 433.

Moreover, a S $.++-*1'$./# )  ..-4*)$/$*)!*-ʉC. imposition of a

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 —which EPA has legally bound itself to )'$5 $)' ../#)/2*2 &.. See Con-
sent Decree, Sierra Club v. Michael S. Regan, No. 3:22-cv-1992 (N.D. Cal. Jan. 24,
2023). (+*.$/$*)*!/#  2$''' /*) onerous regulatory regime likely to result
in a reduction of at least 10,800 MW of capacity, the disconnecting of customers
from the electrical grid, and a strain on existing sources by a decreased ability to con-

duct planned periodic outages. Declaration of Dwayne W. “Woody” Rickerson
(App. E). And it is black-letter law that “plant closures, the threat of grid instability
)+*/ )/$'-*2)*0/.'*) *)./$/0/ $-- +-' $)%0-4/* 3).7ETexas, 829
F.3d at 434.
     )*)/rast, ʉ2$''.0!! -)*#-($!/#  $../4 + )$)"- 1$ 27 ) 6
if time really were of the essence, EPA would not have taken almost ve years to
disapprove Texas’s  )$(+*.  . See Tate Access &)),-5 (6 v. (., 
ʨ,"#../, -65 (., 279 F.3d 1357, 1364 (Fed. Cir. 2002) (identifying the
absence of a threat to public health as a signicant factor favoring a preliminary in-

%0)/$*)). *- *1 -6 .  3.C.    (*)./-/ 6 emissions from Texas do not
signicantly contribute to nonattainment in downwind States or interfere with
($)/ )) *!/# fdei*5*) ʉʉ7  3. /g-75.

    Finally, the public interest also favors a stay. %(, 556 U.S. at 434. When,
as here, a State seeks a stay pending appeal, “its interest and harm merge with that
of the public.” Veasey v. Abbott, 870 F.3d 387, 391 (5th Cir. 2017) (per curiam). More-

over, preserving a functioning Texas power grid and the State’s ability to deliver
“ready access to affordable electricity,” Texas, 829 F.3d at 435, outweighs any inter-
est in enforcement of the disapproval of Texas’s  )/# imposition of a  7

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                                Conclusion
    The Court should stay, pending review, the part of the Final Rule that disap-
proves  3.C. .
                                     Respectfully submitted.

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                                     Environmental Quality




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                   Certi¾cate of Conference
    On March 2 and 3, 2023, counsel for the State of Texas and TCEQ conferred
with counsel for all other parties. The respondents oppose the relief sought in this
motion. The other petitioners consent to it.

                                       /s/ Bill Davis
                                       Bill Davis

                       Certi¾cate of Service
    On March 3, 2023, this motion was served via CM/ECF on all registered coun-
sel and transmitted to the Clerk of the Court. Counsel further certies that: (1) any
required privacy redactions have been made in compliance with Fifth Circuit Rule
25.2.13; (2) the electronic submission is an exact copy of the paper document in com-
pliance with Fifth Circuit Rule 25.2.1; and (3) the document has been scanned with
the most recent version of Symantec Endpoint Protection and is free of viruses.

                                       /s/ Bill Davis
                                       Bill Davis

                   Certi¾cate of Compliance
    This document complies with: (1) the type-volume limitation of Federal Rule of

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                                       /s/ Bill Davis
                                       Bill Davis


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